                    Case 23-32340 Document 1 Filed in TXSB on 06/27/23 Page 1 of 29


 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       7                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Moss Bayou Restaurants LLC

2.   All other names debtor used       dba The Lost Cajun
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           4      7      –      5      6        5    5         1   9     6

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       7042 FM 1960 Road East                                          c/o Greg Schwalbach
                                       Number         Street                                           Number     Street
                                                                                                       6942 FM 1960 Road East #180
                                                                                                       P.O. Box



                                       Humble                              TX       77346              Humble                        TX      77346
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Harris                                                          from principal place of business
                                       County

                                                                                                       7042 FM 1960 Road East, Humble, TX 77346
                                                                                                       Number     Street

                                                                                                       and


                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)            https://thelostcajun.com/locations/humble-texas

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor Moss Bayou Restaurants LLC                                                        Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
     A debtor who is a "small               Chapter 11. Check all that apply:
     business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                              OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                              sheet, statement of operations, cash-flow statement, and federal income tax
                                                              return, or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                              form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.

                                            Chapter 12




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
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Debtor Moss Bayou Restaurants LLC                                                         Case number (if known)

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY

                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor Moss Bayou Restaurants LLC                                                 Case number (if known)

12. Does the debtor own or            No
    have possession of any            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal              needed.
    property that needs
                                           Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                safety.
                                                What is the hazard?

                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                related assets or other options).

                                                Other


                                           Where is the property?
                                                                        Number      Street




                                                                        City                                       State      ZIP Code

                                           Is the property insured?

                                                No
                                                Yes. Insurance agency

                                                        Contact name

                                                        Phone


              Statistical and adminstrative information
13. Debtor's estimation of       Check one:
    available funds                  Funds will be available for distribution to unsecured creditors.
                                     After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                     creditors.

14. Estimated number of               1-49                              1,000-5,000                         25,001-50,000
    creditors                         50-99                             5,001-10,000                        50,001-100,000
                                      100-199                           10,001-25,000                       More than 100,000
                                      200-999

15. Estimated assets                  $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion

16. Estimated liabilities             $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
                    Case 23-32340 Document 1 Filed in TXSB on 06/27/23 Page 5 of 29


Debtor Moss Bayou Restaurants LLC                                                        Case number (if known)


              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 06/27/2023
                                                      MM / DD / YYYY



                                          X /s/ Gregory K. Schwalbach
                                              Signature of authorized representative of debtor
                                              Gregory K. Schwalbach
                                              Printed name
                                              Manager/Director
                                              Title

18. Signature of attorney                X /s/ Melissa Rae Lanier                                                 Date   06/27/2023
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            Melissa Rae Lanier
                                            Printed name
                                            Law Office of Melissa Rae Lanier, PLLC
                                            Firm name
                                            116 S. Avenue C
                                            Number          Street



                                            Humble                                                     TX                 77338
                                            City                                                       State              ZIP Code


                                            (281) 446-1000                                             melissa@attorneylanier.com
                                            Contact phone                                              Email address
                                            24055818                                                   TX
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 5
                    Case 23-32340 Document 1 Filed in TXSB on 06/27/23 Page 6 of 29


 Fill in this information to identify the case:
 Debtor name          Moss Bayou Restaurants LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
                                                           subject to a lien

          Creditor's mailing address
                                                           Describe the lien


                                                           Is the creditor an insider or related party?
                                                                No
                                                                Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred                               No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                         $0.00


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
                    Case 23-32340 Document 1 Filed in TXSB on 06/27/23 Page 7 of 29


 Fill in this information to identify the case:
 Debtor              Moss Bayou Restaurants LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
                   Case 23-32340 Document 1 Filed in TXSB on 06/27/23 Page 8 of 29


Debtor        Moss Bayou Restaurants LLC                                               Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $14,727.36
                                                                   Check all that apply.
Alliantgroup LP                                                        Contingent
3009 Post Oak Blvd, Ste. 2000                                          Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Houston                                  TX       77056            Sales Tax Credit

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          0    0    0   1                Yes


     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $3,395.18
                                                                   Check all that apply.
Cintas                                                                 Contingent
1408 S. 7th Street                                                     Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Conroe                                   TX       77301            Linens

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          4    2    6   1                Yes


     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                      $948.78
                                                                   Check all that apply.
Comcast                                                                Contingent
9602 S. 300 W. Ste B                                                   Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Sandy                                    UT       84070-3302       Internet Service

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          8    4    5   2                Yes


     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                      $449.50
                                                                   Check all that apply.
Eco Lab Pest                                                           Contingent
26252 Network Place                                                    Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Chicago                                  IL       60673            Pest Control

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
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Debtor       Moss Bayou Restaurants LLC                                             Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,814.04
                                                                Check all that apply.
Jakes Finer Foods                                                   Contingent
13400 Hollister Drive                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77086           Food

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $300,000.00
                                                                Check all that apply.
US Small Business Admin                                             Contingent
PO Box 3918                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Portland                               OR       97208-3918      Business Loan

Date or dates debt was incurred      5/20/2020                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
                  Case 23-32340 Document 1 Filed in TXSB on 06/27/23 Page 10 of 29


Debtor        Moss Bayou Restaurants LLC                                                   Case number (if known)

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Alliantgroup LP                                                       Line       3.1
         PO Box 676486                                                                Not listed. Explain:




         Dallas                        TX      75267-6486




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                            page 4
                 Case 23-32340 Document 1 Filed in TXSB on 06/27/23 Page 11 of 29


Debtor      Moss Bayou Restaurants LLC                                        Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +            $323,334.86


5c. Total of Parts 1 and 2                                                                5c.                $323,334.86
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 5
                  Case 23-32340 Document 1 Filed in TXSB on 06/27/23 Page 12 of 29


 Fill in this information to identify the case:
 Debtor name         Moss Bayou Restaurants LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                  Chapter       7                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Coke Machine Lease                              Metro Fountain Service
          or lease is for and the       Contract to be REJECTED                         1400 Crestdale Drive
          nature of the debtor's
          interest

          State the term remaining
          List the contract
                                                                                       Houston                             TX            77080-7214
          number of any
          government contract

2.2       State what the contract       Commercial Lease                                Wulfe Management Services, Inc.
          or lease is for and the       Contract to be REJECTED                         1800 Post Oak Blvd,
          nature of the debtor's        Contract is in DEFAULT
          interest                                                                      6 Blvd Place, Ste. 400

          State the term remaining
          List the contract
                                                                                       Houston                             TX            77056
          number of any
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify the case:
 Debtor name         Moss Bayou Restaurants LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                        Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Greg and April                  13805 Lynnedale Loop                                   Wulfe Management                      D
       Schwalbach                      Number      Street                                     Services, Inc.                        E/F
                                                                                                                                    G

                                       Abbeville                      LA      70510
                                       City                           State   ZIP Code


2.2    Greg and April                  13805 Lynnedale Loop                                   Alliantgroup LP                       D
       Schwalbach                      Number      Street                                                                           E/F
                                                                                                                                    G

                                       Abbeville                      LA      70510
                                       City                           State   ZIP Code


2.3    Greg and April                  13805 Lynnedale Loop                                   Cintas                                D
       Schwalbach                      Number      Street                                                                           E/F
                                                                                                                                    G

                                       Abbeville                      LA      70510
                                       City                           State   ZIP Code


2.4    Greg and April                  13805 Lynnedale Loop                                   US Small Business                     D
       Schwalbach                      Number      Street                                     Admin                                 E/F
                                                                                                                                    G

                                       Abbeville                      LA      70510
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
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 Fill in this information to identify the case:


 Debtor Name Moss Bayou Restaurants LLC

 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF TEXAS


 Case number (if known):                                                                                                                                                                         Check if this is an
                                                                                                                                                                                                 amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15



 Part 1:            Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                 $0.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                      $34,670.70
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                       $34,670.70
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:            Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D......................................................                                                     $0.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              +            $323,334.86
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F...................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................     $323,334.86




Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
                    Case 23-32340 Document 1 Filed in TXSB on 06/27/23 Page 15 of 29


 Fill in this information to identify the case and this filing:
 Debtor Name         Moss Bayou Restaurants LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:


                    Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                    Amended Schedule

                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                    Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 06/27/2023                       X /s/ Gregory K. Schwalbach
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Gregory K. Schwalbach
                                                              Printed name
                                                              Manager/Director
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name         Moss Bayou Restaurants LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                  04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,           Sources of revenue                             Gross revenue
which may be a calendar year                                                   Check all that apply.                          (before deductions
                                                                                                                              and exclusions


From the beginning of the                                                          Operating a business
                                 From    01/01/2023      to   Filing date
fiscal year to filing date:                                                        Other                                              $259,022.66
                                        MM / DD / YYYY

                                                                                   Operating a business
For prior year:                  From    01/01/2022      to    12/31/2022
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                              $691,687.00

                                                                                   Operating a business
For the year before that:        From    01/01/2021      to    12/31/2021
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                              $789,617.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
     adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None

      Creditor's name and address                             Dates            Total amount or value      Reasons for payment or transfer
                                                                                                          Check all that apply
3.1. Wulfe Management Services, Inc.                          4/22/23                $7,959.88               Secured debt
      Creditor's name
      1800 Post Oak Blvd,                                                                                    Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
      6 Blvd Place, Ste. 400                                                                                 Services
      Houston                         TX      77056                                                          Other Commercial Rent
      City                            State   ZIP Code




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1
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Debtor         Moss Bayou Restaurants LLC                                                    Case number (if known)
               Name

      Creditor's name and address                                  Dates            Total amount or value        Reasons for payment or transfer
                                                                                                                 Check all that apply
3.2. Jakes Finer Foods                                             March                  $39,183.66                 Secured debt
      Creditor's name                                              2023
      13400 Hollister Drive                                                                                          Unsecured loan repayments
                                                                   April 2023
      Street                                                                                                         Suppliers or vendors
                                                                   May 2023
                                                                                                                     Services
      Houston                           TX       77086                                                               Other
      City                              State    ZIP Code

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


         None

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

         None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

         None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

         None

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
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Debtor          Moss Bayou Restaurants LLC                                                Case number (if known)
                Name


 Part 4:          Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

          None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?           If not money, describe any property             Dates               Total amount
                                                              transferred                                                         or value
 11.1. Law Office of Melissa Rae Lanier PLLC                  $4,500 paid for attorney fees                   06/09/23                $4,838.00
                                                              $338 paid for filing fees
         Address

         116 S. Avenue C
         Street


         Humble                      TX      77339
         City                        State   ZIP Code

         Email or website address
         www.attorneylanier.com

         Who made the payment, if not debtor?
         Company Representative

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor        Moss Bayou Restaurants LLC                                                   Case number (if known)
              Name

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

         None

 Part 7:        Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         Does not apply


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to Part 9.
         Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

         No.
         Yes. State the nature of the information collected and retained

                Does the debtor have a privacy policy about that information?
                   No.
                   Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                  No. Go to Part 10.
                  Yes. Fill in below:




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Debtor       Moss Bayou Restaurants LLC                                                     Case number (if known)
             Name


  Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

         None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

         None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

         None

  Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


         None

Owner's name and address                        Location of the property                        Description of the property         Value

Metro Fountain Service                          7042 FM 1960 Road East                          Coke machine with ice
Name                                                                                            holder
1400 Crestdale Drive
Street                                          Humble                   TX     77346



Houston                   TX      77080-7214
City                      State   ZIP Code




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Debtor       Moss Bayou Restaurants LLC                                                     Case number (if known)
             Name


 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

         No
         Yes. Provide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

         No
         Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

         No
         Yes. Provide details below.

 Part 13:       Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

         None

26. Books, records, and financial statements

     26a.   List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                 None

                Name and address                                                                     Dates of service

      26a.1. Naomi's Tax & Bookkeeping                                                               From     5/02/2017        To    6/12/2023
                Name
                7840 FM 1960 Rd E. Ste. 413
                Street


                Humble                                         TX          77346
                City                                           State       ZIP Code




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Debtor       Moss Bayou Restaurants LLC                                                     Case number (if known)
             Name

     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

                None

     26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                None

     26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

                None

               Name and address

       26d.1. Corporate Executive
               Name
               166 Town Center Pkwy
               Street


               Slidell                                        LA          70458
               City                                           State       ZIP Code

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

         No.
         Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                     Address                                      Position and nature of any interest         % of interest, if any

Greg Schwalbach                          6942 FM 1960 RD E, #180                      Manager/Director                                     50%
                                         Humble, TX 77346
April Schwalbach                         6942 FM 1960 Rd E, #180                      Manager                                              50%
                                         Humble, TX 77346
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

         No
         Yes. Identify below.

Name                                     Address                                      Position and nature of        Period during which position
                                                                                      any interest                  or interest was held




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Debtor          Moss Bayou Restaurants LLC                                                Case number (if known)
                Name

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.

         Name and address of recipient                Amount of money or description           Dates            Reason for
                                                      and value of property                                     providing the value


 30.1. Greg Schwalbach                                Owner Draw                               December
         Name                                         $45,000.00                               29, 2022
         6942 F.M. 1960 R. E. #180
         Street


         Humble                  TX      77346
         City                    State   ZIP Code

         Relationship to debtor
         Owner/Manager

         Name and address of recipient                Amount of money or description           Dates            Reason for
                                                      and value of property                                     providing the value


 30.2. April Schwalbach                               Owner Draw                               December
         Name                                         $45,000.00                               29, 2022
         6942 FM 1960 Rd E. #180
         Street


         Humble                  TX      77346
         City                    State   ZIP Code

         Relationship to debtor
         Owner/Manager

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
          Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
          Yes. Identify below.




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 8
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Debtor        Moss Bayou Restaurants LLC                                                Case number (if known)
              Name


 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 06/27/2023
            MM / DD / YYYY



X /s/ Gregory K. Schwalbach                                                       Printed name Gregory K. Schwalbach
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor Manager/Director

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 9
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             SOUTHERN DISTRICT OF TEXAS
                                                                  HOUSTON DIVISION
In re Moss Bayou Restaurants LLC                                                                                                    Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                Fixed Fee:                       $4,500.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $4,500.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)
                                                                 Paid by Company Representative

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Includes a, b and c only. Does not include adversary proceeding.




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   06/27/2023                         /s/ Melissa Rae Lanier
                      Date                            Melissa Rae Lanier                           Bar No. 24055818
                                                      Law Office of Melissa Rae Lanier, PLLC
                                                      116 S. Avenue C
                                                      Humble, TX 77338
                                                      Phone: (281) 446-1000




   /s/ Gregory K. Schwalbach
   Gregory K. Schwalbach
   Manager/Director
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                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION
  IN RE:   Moss Bayou Restaurants LLC                                             CASE NO

                                                                                 CHAPTER        7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 6/27/2023                                          Signature   /s/ Gregory K. Schwalbach
                                                                    Gregory K. Schwalbach
                                                                    Manager/Director




Date                                                    Signature
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                  Alliantgroup LP
                  3009 Post Oak Blvd, Ste. 2000
                  Houston, TX 77056



                  Alliantgroup LP
                  PO Box 676486
                  Dallas, TX 75267-6486



                  Cintas
                  1408 S. 7th Street
                  Conroe, TX 77301



                  Comcast
                  9602 S. 300 W. Ste B
                  Sandy UT 84070-3302



                  Eco Lab Pest
                  26252 Network Place
                  Chicago, IL 60673



                  Greg and April Schwalbach
                  13805 Lynnedale Loop
                  Abbeville, LA 70510



                  Jakes Finer Foods
                  13400 Hollister Drive
                  Houston, TX 77086



                  Metro Fountain Service
                  1400 Crestdale Drive
                  Houston, TX 77080-7214



                  US Small Business Admin
                  PO Box 3918
                  Portland, OR 97208-3918
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                  Wulfe Management Services, Inc.
                  1800 Post Oak Blvd,
                  6 Blvd Place, Ste. 400
                  Houston, TX 77056
